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  4

  5   CHAPTER 7 TRUSTEE

  6                                       UNITED STATES BANKRUPTCY COURT

  7                 CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

  8

  9   In re                                              CASE NO. 2:20-bk-21022 BR
 10   GIRARDI KEESE                                      Chapter 7

 11                                                      NOTICE OF INCREASE OF BOND OF
                         Debtor.                         TRUSTEE
 12

 13   TO THE HONORABLE BARRY RUSSELL, UNITED STATE BANKRUPTCY JUDGE
 14   AND TO THE OFFICE OF THE UNITED STATES TRUSTEE:
 15
               Notice of hereby given that the Bond of Trustee has been increased from $20,000,000.00
 16
        to $21,000,000.00. Attached hereto is a true and correct copy of the Rider for Bond #016229736.
 17

 18   DATED: October 10, 2022                           /s/ Elissa D. Miller
                                                        Elissa D. Miller
 19                                                     Chapter 7 Trustee
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      LVC 2728176v1 10/6/2021 (8:48 AM)
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